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                 DOMAIN NAME HIJACKING:
              INCIDENTS, THREATS, RISKS, AND
                    REMEDIAL ACTIONS




           A Report from the ICANN
           Security and Stability
           Advisory Committee
           (SSAC)
           12 July 2005
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     Preface and Acknowledgements

     This is a report by the Security and Stability Advisory Committee (SSAC) describing
     domain hijacking. Formed in the wake of the events of September 11, 2001, SSAC is an
     advisory committee to ICANN (the Internet Corporation for Assigned Names and
     Numbers). SSAC reports directly to the ICANN Board and advises the ICANN
     community and Board on matters relating to the security and integrity of the Internet's
     naming and address allocation systems.

     As part of its advisory role, the Committee offers independent advice to the ICANN
     board, the ICANN staff and the various ICANN supporting organizations, councils and
     committees as well as to the technical community at large. The Committee has no official
     authority to regulate, enforce or adjudicate. Those functions belong to others, and the
     advice offered here should be evaluated on its merits.

     The Committee’s membership draws from the commercial and not-for-profit sectors, has
     broad geographic representation and has broad representation across industry and
     academe (Appendix D), including all segments of the domain name system (DNS)
     community. The committee includes members who operate root servers, generic and
     country code top-level domain servers, registrars and address registries. Some members
     are network security experts or conduct network security research. The Committee
     members are volunteers, who serve without pay, each a technical contributor in his or her
     own organization and in the community at large. A recently appointed ICANN Fellow
     also serves on the Committee and is compensated by ICANN.

     Because the Committee is composed of people actively working in the field, conflicts of
     interest arise from time to time. Committee members are expected to declare conflicts of
     interest, whether actual, potential or apparent, but Committee members are not required
     or expected to recuse themselves. In the current activity, several contributors work for
     registries and registrars. In all cases, the members have made their situations clear and
     have been careful to provide technical information without attempting to influence others
     on the Committee. SSAC’s policy concerning conflict of interest is posted to the
     committee’s Web site at http://ssac.icann.org. A list of contributors to this report is
     provided in Appendix B.

     This report was written and edited by Dave Piscitello under the direction of Steve
     Crocker, Chairman, and the Committee, which has complete responsibility for the work,
     its content and its recommendations.




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     Executive Summary
     This report by the Security and Stability Advisory Committee (SSAC) describes incidents
     where domain names were “hijacked”. Domain hijacking refers to the wrongful taking of
     control of a domain name from the rightful name holder. The common use of the term
     encompasses a number of attacks and incidents. Incidents representative of common
     forms of attacks are discussed and analyzed in the report. The Committee then presents
     its findings and recommendations.
     As the report illustrates, domain hijacking can have a lasting and material impact on a
     registrant. The registrant may lose an established online identity and be exposed to
     extortion by name speculators. Domain hijacking can disrupt or severely impact the
     business and operations of a registrant, including (but not limited to) denial and theft of
     electronic mail services, unauthorized disclosure of information through phishing web
     sites and traffic inspection (eavesdropping), and damage to the registrant’s reputation and
     brand through web site defacement. The report further illustrates how incidents often
     affect more parties than the rightful name holder: customers, business partners,
     consumers of services provided by the name holder, and even parties wholly unrelated to
     the name holder are often “collateral damage” to hijacking incidents.
     The Committee finds that domain name hijacking incidents are commonly the result of
     flaws in registration and related processes, failure to comply with the transfer policy, and
     poor administration of domain names by registrars, resellers, and registrants.
     Finding (1) Failures by registrars and resellers to adhere to the transfer policy have
     contributed to hijacking incidents and thefts of domain names.
     Finding (2) Registrant identity verification used in a number of registrar business
     processes is not sufficient to detect and prevent fraud, misrepresentation, and
     impersonation of registrants.
     Finding (3) Consistent use of available mechanisms (Registrar-Lock, EPP authInfo, and
     notification of a pending transfer issued to a registrant by a losing registrar) can prevent
     some hijacking incidents.
     Finding (4) ICANN Policy on Transfer of Registrations between Registrars specifies that
     “consent from an individual or entity that has an email address matching the Transfer
     Contact email address” is an acceptable form of identity. Transfer Contact email
     addresses are often accessible via the Whois service and have been used to impersonate
     registrants.
     Finding (5) Publishing registrant email addresses and contact information contributes to
     domain name hijacking and registrant impersonation. Hijacking incidents described in
     this report illustrate how attackers target a domain by gathering contact information using
     Whois services and by registering expired domains used by administrative contacts.
     Finding (6) Accuracy of registration records and Whois information are critical to the
     transfer process. The ICANN Whois Data Reminder Policy requires that registrars
     annually request registrants to update Whois data, but registrars have no obligation to



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     take any action except to notify registrants. Registrants who allow registration records to
     become stale appear to be more vulnerable to attacks.
     Finding (7) ICANN and registries have business relationships with registrars, but no
     relationship with resellers (service providers). Resellers, however, may operate with the
     equivalent of a registrar’s privileges when registering domain names. Recent hijacking
     incidents raise concerns with respect to resellers. The current situation suggests that
     resellers are effectively “invisible” to ICANN and registries and are not distinguishable
     from registrants. The responsibility of assuring that policies are enforced by resellers (and
     are held accountable if they are not) is entirely the burden of the registrar.
     Finding (8) ICANN requires that registrars maintain records of domain name
     transactions. It does not appear that all registrars are working closely enough with their
     resellers to implement this requirement.
     Finding (9) The Inter-Registrar Transfer Policy incorporates formal dispute mechanisms.
     These were not designed to prevent incidents requiring immediate and coordinated
     technical assistance across registrars. Specifically, there are no provisions to resolve an
     urgent restoration of domain name registration information and DNS configuration.
     Finding (10) Changes to transfer processes introduced with the implementation of the
     ICANN Inter-Registrar Transfer Policy have not been the cause of any known attacks
     against domain names. There is no evidence to support reverting to the earlier policy.

     On the basis of these findings, the Committee makes the following recommendations:
     Recommendation (1): Registries should ensure that Registrar-Lock and EPP authInfo
     are implemented according to specification. In particular, registries should confirm that
     registrars comply with the transfer policy and do not use the same EPP authInfo code for
     all domains they register.
     Recommendation (2): Registries and registrars should provide resellers and registrants
     with Best Common Practices that describe appropriate use and assignment of EPP
     authInfo codes and risks of misuse when the uniqueness property of this domain name
     password is not preserved.
     Recommendation (3): Under the current transfer policy, a losing registrar notifies a
     registrant upon receiving a pending transfer notice from the registry at its option.
     Registrars should investigate whether making this notice a mandatory action would
     reduce hijacking incidences.
     Recommendation (4): Registrars should make contact information for emergency
     support staff available to other registrars, agents of registrars (resellers), and registry
     operators. Specifically, registrars should provide an emergency action channel. The
     purpose of this channel is to provide 24 x 7 access to registrar technical support staff that
     are authorized to assess an emergency situation, establish the magnitude and immediacy
     of harm, and take measures to restore registration records and DNS configuration in
     circumstances which merit such intervention.
     Recommendation (5): Registrars should identify evaluation criteria a registrant must
     provide to obtain immediate intervention and restoration of domain name registration
     information and DNS configuration. Registrars should define emergency procedures and


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     policy based on these criteria. This policy would complement the Transfer Dispute
     Resolution Policy (TDRP) and must not undermine or conflict with those policies.
     Recommendation (6): ICANN, the registries, and the registrars should conduct a public
     awareness campaign to identify the criteria and the procedures registrants must follow to
     request intervention and obtain immediate restoration of a domain name and DNS
     configuration.
     Recommendation (7): Registrars should investigate additional methods to improve
     accuracy and integrity of registrant records. More frequent or alternate communications
     might assist registrants in keeping their information up to date. Registrars should also
     acquire emergency contact information from registrants for technical staff who are
     authorized and able to assist in responding to an urgent restoration of domain name
     incident.
     Recommendation (8): Registrars should improve registrant awareness of the threats of
     domain name hijacking and registrant impersonation and fraud, and emphasize the need
     for registrants to keep registration information accurate. Registrars should also inform
     registrants of the availability and purpose of the Registrar-Lock, and encourage its use.
     Registrars should further inform registrants of the purpose of authorization mechanisms
     (EPP authInfo), and should develop recommended practices for registrants to protect their
     domains, including routine monitoring of domain name status, and timely and accurate
     maintenance of contact and authentication information.
     Recommendation (9): ICANN should investigate whether stronger and more publicly
     visible enforcement mechanisms are needed to deal with registrars that fail to comply
     with the transfer policy, and to hold registrars accountable for the actions of their
     resellers.
     Recommendation (10): ICANN should consider whether to strengthen the identity
     verification requirements in electronic correspondence to be commensurate with the
     verification used when the correspondence is by mail or in person.




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     1 Descriptions of Incidents
     Domain hijacking refers to the wrongful taking of control of a domain name from the
     rightful name holder. The common use of the term encompasses a number of attacks and
     incidents including
        •   impersonation of a domain name registrant in correspondence with a domain
            name registrar,
        •   forgery of a registrant’s account information maintained by a registrar,
        •   forgery of a transfer authorization communication from a registrant to a registrar,
        •   impersonation or a fraudulent act that leads to the unauthorized transfer of a
            domain from a rightful name holder to another party, and
        •   unauthorized DNS configuration changes that disrupt or damage services operated
            under a domain name, including web site defacement, mail service disruption,
            pharming and phishing attacks.
     Domain hijacking incidents often affect more parties than the rightful name holder.
     Customers, business partners, consumers of services provided by the name holder, and
     even parties wholly unrelated to the name holder are often “collateral damage” to
     hijacking incidents.
     Domain hijackers have a number of motives and objectives, primarily malice and
     monetary gain. Modification of a registrant’s information and unauthorized transfer of a
     domain registration can cause the registrant to lose its online identity with little recourse,
     or it may expose the registrant to extortion by name speculators. In several documented
     cases, domain hijacking caused disruption or malicious use of a registrant’s Internet
     services. By modifying the registrant’s DNS information following a successful
     hijacking, hijackers can have material impact on the business and operations of a
     registrant, including but not limited to denial and theft of electronic mail services,
     unauthorized disclosure of information through phishing web sites and traffic inspection
     (eavesdropping), and damage to the registrant’s reputation and brand through web site
     defacement.
     To illustrate the severity of the domain hijacking problem, this report examines some
     incidents in detail. For each incident, we describe the incident and the immediate impact
     on the registrant. We describe the steps that were taken to respond to the attack and the
     vulnerabilities in the registration process that these incidents reveal. To emphasize that
     these are not isolated incidents, we mention other incidents and their consequences to
     registrants in table form.




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     This report does not attempt to single out                 .COM domain names return the highest
     individual registrars or inter-registrar processes           prices when brokered and resold.
     and protocols. It is important to note that while          Domain names for sale as of June 16, 2005
     many of the incidents described in this report          illustrates the relative values ascribed to .com,
     involve the .com domain, domains have been                         .net, .org, .info, .biz and .tv
     hijacked in other gTLDs and ccTLDs as well, as              Name                       Price (in USD)
     noted in section 1.4.                                       PlayerMagazine.com           $2.5 Million
     The .com domain contains a very large percentage            PlayerMagazine.net             $300,000
     of widely known and frequently visited names,               PlayerMagazine.biz                    $7
     thus .com hijackings are brought under public
                                                                 GamingMagazine.com           $3.5 Million
     scrutiny more often than other TLDs. Historically,
     .com names have demonstrably higher resale                  GamingMagazine.net             $400,000
     value. Combined, these factors make .com the                GamingMagazine.biz                    $7
     most attractive target for hijacking among TLDs.            GamingMagazine.tv                     $7
     The table in the sidebar illustrates the considerable       PokerMachine.com               $300,000
     disparity in perceived value a .com or .net name            PokerMachine.net                 $60,000
     registration holds over the same name registered in
     other TLDs. As in any criminal activity, name               PokerMachine.org                 $30,000
     hijackers will seek the highest value item to steal.        PokerMachine.tv                      $50
                                                             Sources: SuperNames, .tv corporation, sedo.com


     1.1 The panix.com Incident
     On January 14, 2005, Internet service provider Public Access Networks Corporation
     (PANIX) fell victim to a domain hijacker. The incident attracted global public attention,
     and is characterized by the following key events:
        1. The management of the domain name, panix.com, was transferred from Dotster,
           Inc. (the “losing registrar”) to Melbourne IT (the “gaining registrar”), by virtue of
           an unauthenticated request from a Melbourne IT reseller (Fibranet), without the
           knowledge and consent of the registrant.
        2. Melbourne IT, in response to an instruction from Fibranet, changed the name
           servers associated with the domain name from PANIX’s name servers to
           Fibranet’s name servers.

     1.1.1 The Impact on Public Access Networks Corporation (PANIX)
     The change to the name servers associated with the domain name panix.com resulted in
     the loss of service for the thousands of customers of Public Access Networks Corporation
     (PANIX), and therefore had a material impact on the business of PANIX. While PANIX
     endeavored to recover its domain name, subscriber email was forwarded to an IP address
     other than PANIX’s mail servers, and later delivered to a reseller’s default mail server.
     Mail eventually bounced or was queued for redelivery when the correct DNS
     configuration was restored.




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      PANIX minimized the impact of the attack for its customers by redirecting hosted-
      domain email. PANIX restored email service to mail recipients on the panix.com domain
      by implementing a temporary workaround and providing web mail access to subscribers
      via its panix.net domain.
      During the course of the investigation, inflammatory and uncorroborated stories were
      posted across the web (see Section 1.1.5), claiming that mail sent to PANIX customers
      was routed to a bogus mail server run by the hijackers. Post incident analysis reveals that
      Fibranet, having suspected credit card fraud, locked the domain name and all panix.com
      email was delivered to a default mail server Fibranet maintains. (Like many service
      providers, Fibranet maintains service infrastructure in several locations around the world.
      In this case, routes and mail forwarding tables pointed to an email server in the United
      Kingdom, which was mistakenly reported as “owned” by attackers). PANIX has no
      evidence to conclude that email processed during the service outage was misused, but
      advised subscribers that they should consider any sensitive data mailed during this period
      to be compromised.
      PANIX offers many Internet services to subscribers, including web hosting and UNIX
      command shell. PANIX customers were unable to access these services during the
      incident. The domain name was parked and locked, and the attacker was unable to
      modify the DNS configuration any further after the first DNS change had been made.
      Any additional malicious activities were thus thwarted.

      1.1.2 Detection of and Recovery from the Incident
      At approximately 1:00 a.m. EST, Saturday 17 January, 2005, PANIX discovered that the
      DNS configuration on their domain name panix.com was changed and attempted to
      contact both their sponsoring registrar (Dotster) and the registrar newly identified by the
      registry’s Whois service (Melbourne IT) to resolve the problem. Neither Dotster nor
      Melbourne IT had office staff on duty at that time, and no parties were reachable via
      readily-available contact numbers. Technical staff at PANIX posted messages to public
      mailing lists (in particular, NANOG) requesting assistance in contacting the registrars.
      The mobile phone number of a senior Melbourne IT staff member was obtained from the
      Melbourne IT website, and this staff member was contacted around 5:00 p.m. EST
      (Saturday evening in New York, Sunday morning in Melbourne).
      Time-zone differences and office hours of the parties involved continued to encumber the
      recovery process. Melbourne IT was finally able to verify the details of the incident when
      its office opened, and the DNS and registrant information was reverted to the previously
      known state around 5:30 p.m. EST Sunday. Melbourne IT then asked Dotster to request
      that the domain name be a transferred back to Dotster through the standard transfer
      process. Dotster initiated this process around 2:00 a.m. EST on Monday morning, and
      Melbourne IT manually approved the transfer.




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      1.1.3 Analysis of the Incident
      Analysis of the PANIX incident reveals that procedural errors contributed to the success
      of the hijacking. Analysis further exposes certain vulnerabilities inherent in the processes
      currently employed to transfer names.

      1.1.3.1 Procedural errors
      Under the requirements of the ICANN Inter-Registrar Transfer Policy
      (http://www.icann.org/transfers, informally, the “transfer policy”), a domain name may
      not be transferred from a losing registrar to a gaining registrar without the approval of the
      registrant or administrative contact. The gaining registrar is responsible for obtaining this
      approval. The gaining registrar is required to (1) obtain explicit authorization for a
      transfer from the registrant or administrative contact, and (2) authenticate the registrant or
      administrative contact against the information published by the Whois service of the
      losing registrar.
      In this incident, the gaining registrar did not obtain approval from the registrant.
      The gaining registrar had delegated responsibility for obtaining approval to a reseller, and
      that reseller failed to follow the process specified by the registrar; specifically, no
      authentication request was issued by Fibranet to the email address of the administrative
      contact at panix.com.
      Two available mechanisms, if used, could have prevented this hijacking incident.
      The first mechanism is Registrar-Lock. A domain name on Registrar-Lock cannot be
      modified or transferred until the sponsoring registrar removes the lock1. Many registrars
      have implemented Registrar-Lock as a default setting for all domain names that they
      sponsor.
      The second mechanism is the five-day transfer pending period, during which the losing
      registrar may take steps to verify the registrant’s intent to transfer. Upon notification of a
      pending transfer, the losing registrar has five (5) days to cancel the transfer, with cause.
      The losing registrar has the option of contacting the registrant using a standardized form
      (http://www.icann.org/transfers/foa-conf-12jul04.htm). In cases where the registrant
      explicitly denies approval of the transfer, the registrar has the opportunity to explicitly
      cancel the transfer.
      Neither of these optional mechanisms was utilized in the case of the panix.com
      hijacking.
          a) The domain name was not locked.
          b) The losing registrar did not notify the registrant upon receiving the pending
             transfer notice from the registry.




      1
       Where RPP is used, Registrar-Lock locks a domain name from transfers and modification. When EPP is
      used, Registrar-Lock usually refers to a lock on transfers, and modifications to the domain record are
      permitted.


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      Certain domain name registries use the IETF Extensible Provisioning Protocol, EPP (e.g.,
      .org, .biz, .info). EPP provides an additional mechanism, the Domain Name Password
      (EPP authInfo), which might have prevented the hijacking from occurring. EPP authInfo
      is used by domain name registries to authenticate a registrant requesting a transfer. This
      password is either generated by a sponsoring registrar or provided by the registrant. A
      gaining registrar must obtain this password from the registrant before a transfer can be
      initiated.

      At the time of the incident, .com did not use EPP, however VeriSign is deploying EPP in
      .com and .net and was preparing to do so prior to this attack2.

      1.1.3.2 Circumstances that Delayed the Recovery Process
      The recovery process associated with the panix.com hijacking highlights some of the
      difficulties in dealing with emergency situations, and illustrates how the urgency of
      resolving a hijacking issue may be commensurate with the amount of harm done. In
      other words, the time it took to fix the panix.com issue was actually quite fast by some
      measures, but not fast enough when business and services are disrupted.
      In this case, the recovery process was hampered by the timing of the event (possibly
      intentional). Transfer policies and procedures have never been designed specifically to
      remedy high-profile hijacking cases requiring immediate and coordinated technical
      assistance across registrars. Although Melbourne IT had 24 x 7 on-call technical and
      customer support, it had not envisaged a situation where a party other than a customer of
      Melbourne IT would need access to 24 x 7 support. [Note: Melbourne IT has since
      provided a public phone number on its contact page that links directly to 24 x 7 staff.]
      The current registrar transfer undo procedures did not specifically address situations
      where:
      1) An incident would occur on a weekend.
      2) Incident response would require verification and investigation by parties operating in
         different time zones.
      3) Administrative (emergency support staff) rather than office (business) contact
         numbers for all parties involved in an incident would be required. In general, ICANN
         holds contact information for office staff for all ICANN accredited registrars;
         however, this type of contact detail was not suited to assist in recovering from the
         panix.com incident.
      4) Parties involved in incident response needed to share information they customarily
         keep private. In this incident, the gaining registrar attempted to confer with the losing
         registrar, the original registrant, the registry operator and the reseller to help
         authenticate the problem. The gaining registrar also needed to review event logs at
         both the registrar and its reseller.




      2
          Source: VeriSign, 25 June 2005.


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      None of these circumstances are explicitly planned for in the current Inter-Registrar
      Transfer Policy, as this policy was developed to ensure a procedure for domain name
      holders to transfer their names from one ICANN-accredited registrar to another. The
      policy provides standardized requirements for registrar handling of such transfer requests
      from domain name holders and includes a mechanism for sharing contact details between
      registrar and registry staff that has been allocated to solve specific transfer problems. The
      policy was not developed to provide a mechanism for emergency support staff.
      The Inter-Registrar Transfer Policy incorporates formal dispute mechanisms (the
      Transfer Dispute Resolution Policy) intended for handling disputes between registrars
      associated with a transfer that cannot be solved directly between the two parties. These
      business-oriented processes are appropriate when the DNS information of a domain name
      is unaffected, when there is no issue of service denial or interruption, and when there is
      less immediate urgency to restore service. While the processes may be satisfactory for
      resolving a transfer-related dispute in a matter of days, another mechanism may be
      necessary to allow restoration of service in the timely manner real-time communications
      networks demand.
      In the panix.com incident, there was no dispute between registrars and no dispute over
      who was the legitimate registrant. The two registrars involved fully cooperated to resolve
      the problem without the use of the processes provided through the Transfer Dispute
      Resolution Policy. However, an officially available restoration mechanism could have
      minimized the effect of the hijacking as there was still a period of over 40 hours before
      the DNS information was corrected. The fact that the incident occurred on a weekend, the
      staff necessary to resolve the problem was not easily contactable, and no standard
      recovery procedures were defined for an incident of this kind all contributed to the length
      of time it took to resolve the incident.

      1.1.4 Possible areas for improvement
      Processes associated with name transfers must address problems exposed by the PANIX
      hijacking incident. Possible areas for improvement to reduce or eliminate future, similar
      incidents include:
      1) Registrars should make contact information for emergency support staff available to
         other registrars, agents of registrars (resellers), and registry operators.
      2) Registrars should define a mechanism to resolve an urgent restoration of domain
         name registration information and DNS configuration. For example, a policy and
         mechanism appear to be required to accommodate incidents where
         a) A transfer involving a change of delegation information is made in error or as a
            result of fraud or malice, and
         b) The registrant notifies the registry and registrars that the transfer is both
            unauthorized and has resulted in a service interruption.
         In such cases, the registry and both registrars must be able to identify and authenticate
         the registrant before they can investigate and validate any claim of fraud or malice.
         The registration information could be reverted to the previous state and then the
         domain name locked at the registry with registrar authorization while the issue is


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         examined in detail. Such a mechanism would require a determination of what
         qualifies as urgent, how to determine whether the allegation of fraud is valid, and who
         is authorized to make this determination.
      3) Registrars should improve registrant awareness of the availability and purpose of the
         Registrar-Lock. This feature is not uniformly appreciated nor understood, and the
         default setting of this status code varies depending on the registrar. Measures to
         consider include better online documentation, published articles, and other
         promotional material; a uniform default setting (or a clearly defined opt-in/opt-out
         process provided during registration); and a secure, intuitive and obvious method of
         modifying the lock setting. These initiatives may reduce hijacking incidents without
         causing confusion, delay, or acrimony when registrants attempt to transfer.
      4) Currently, a losing registrar notifies a registrant upon receiving a pending transfer
         notice from the registry at its option. It is preferable for the losing registrar to use a
         contact point separate from the email address used by the gaining registrar to
         authenticate the transfer request, to minimize the risk resulting from one email
         address being compromised. Registrars should investigate whether making this notice
         a mandatory action would reduce hijacking incidences. If the objective of the transfer
         policy is to assure that registrars provide registrants with choice, notification and
         consent, ICANN and registrars should try to determine whether registrants would
         generally favor mandatory notice.
      5) Registrars should consider improvements in the authentication and authorization
         mechanisms in protocols used for name transfers. Registries should be able to rely on
         system commands received from registrars without independently obtaining
         verification that those commands have been appropriately transmitted. In addition,
         registrars should implement EPP authInfo according to the transfer policy, which
         requires that Registrar-generated EPP authInfo codes be unique on a per-domain
         basis.
      When a registrant claims a transfer was improper, the registrar must verify that the
      transfer or registration change action was in fact unauthorized. Verification requires a
      thorough analysis (audit) of the incident, and complete and accurate information from all
      involved parties. Incomplete information often frustrates investigators. Involved parties
      may have limited or no obligations to cooperate, produce information, or join in the
      investigation. Conflicting, unreliable, and uncorroborated information further complicate
      the process. There are also many circumstances in which a good faith dispute exists
      between the prior and the current domain name holders as to whether the new holder held
      the necessary authority to initiate a transfer. Resolving such questions can require legal
      rather than technical staff participation.
      One means of dealing with the hijacking question would be to assign the financial and
      legal risks associated with fraudulent hijacking to the party most able to control the risk:
      the registrar closest to the wrongdoer. Holding registrars accountable in this manner
      would create incentives for registrar to take whatever steps are necessary to prevent the
      occurrence of fraudulent hijackings




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      1.1.5 News items and articles publicizing the incident
      The following articles are representative of the coverage the PANIX domain hijack
      received. Some of the articles filed during the incident proved inaccurate.
             ISP suffers apparent domain hijacking
             http://news.zdnet.com/2100-9588_22-5538227.html
             PANIX – Hijack FAQ
             http://www.panix.net/hijack-faq.html
             New York’s Oldest ISP gets Domain-jacked
             http://it.slashdot.org/it/05/01/16/0027213.shtml?tid=95&tid=172&tid=17
             Australian Firm Takes Blame for U.S. Domain Name Hijack
             http://www.pcworld.com/news/article/0,aid,119337,00.asp
             ICANN review blames Melbourne IT for hijack
             http://smh.com.au/news/Breaking/ICANN-review-blames-Melb-IT-for-
             hijack/2005/03/15/1110649182358.html?oneclick=true
             PANIX recovers from hijack attack
             http://seclists.org/lists/isn/2005/Jan/0053.html
             The aftermath of a domain hijack attack
             http://www.theregister.co.uk/2005/01/20/panix_recovery_continues/

      1.2 The hushmail.com Incident
      Another means by which the wrongful taking control of a domain name from the rightful
      name holder can occur does not involve an actual transfer of the name to another
      registrar. The following example illustrates this form of hijacking.
      On Sunday, 24 April 2005, the DNS configuration for Hush Communication’s Hushmail
      service was modified by an unauthorized party. The incident is characterized by the
      following key events:
      1. An attacker convinced 1st-tier support staff at Network Solutions, Inc. to modify the
         administrative email contact information in Hush’s registration record.
      2. The attacker used the administrative contact email to submit a password reset request
         for the Hush Communications account to Network Solutions, Inc.
      3. The attacker accessed the Hush Communications account, changed the password, and
         used the account to alter the DNS configuration; specifically, the attacker pointed the
         domain name A record to the attacker’s server.
      4. The attacker(s) posted a defaced home page expressly designed to embarrass Hush
         Communications and gain notoriety for the attacker.
      This incident helps illustrate that some attacks against registrars and registrants are
      labeled “hijacks” but do not involve a domain name transfer in the formal sense of the
      word. Hushmail.com was never transferred from the rightful name holder or to a different
      registrar.



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      1.2.1 The Impact on Hush Communications
      The change in the DNS configuration of the hushmail.com domain name allowed an
      attacker to successfully execute a web defacement attack. Hush Communications is a
      provider of secure email, secure web development and secure desktop services and
      software. The attack put Hush Communications’ credibility as a security services
      provider into question and had a material impact on the company’s reputation and brand.
      According to Hush Communications’ CTO, Brian Smith, the negative publicity persists:
      months later, references to the attack still appear among the top responses at the Google
      and Yahoo! search engines.

      During the recovery period, some Hush customers experienced an interruption of email
      delivery.
      No unauthorized access to any of its servers was discovered, and no data managed by
      Hush were compromised. If the attacker had also succeeded in the modifying other
      contact information (for instance, the registrant and billing information), then Hush
      technical staff would have been unable to restore the registration and DNS information.

      1.2.2 Detection of and Recovery from the Incident
      Hush Communications staff discovered that its DNS configuration had been altered at
      approximately 10 p.m. PDT, Sunday, 24 April 2005 from a posting at the Zone-H.org
      web site. Users attempted to notify Hush’s support via email but since the DNS
      configuration had been changed, this email was not delivered. An unauthorized party,
      identifying himself as Matt Jones, convinced 1st-level support personnel at Network
      Solutions to change the administrative contact email in Hush’s registration record to his
      email account hosted at Yahoo! Network Solutions’ personnel made the change. No
      attempt was made to reach any authorized contacts at Hush Communications using
      alternative contact information, e.g. telephone.
      The attacker requested a password reset for the registration account, which was delivered
      to the attacker’s email address (hushmail@ge3k.net or hushmail@jeet3k.net). The
      attacker reset the registration account password and again modified the administrative
      contact information. The attacker next modified the DNS record for www.hushmail.com
      to point to a web server where a defaced Hushmail.com home page was hosted. Parties
      visiting the defaced page saw a Hushmail logo, a hoax icon and a message stating, “The
      Secret Service is watching.-Agent Leth and Clown Jeet 3k Inc”.
      The defaced web site was in place less than 6 hours. The ISP that hosted the hoax page
      shut it down. The chronology of events that prompted the ISP to shut the page down is
      still under investigation by the Royal Canadian Mounted Police.
      The attacker modified the administrative contact information and DNS configuration, but
      left the billing contact information intact. CTO Brian Smith at Hush Communications
      used the billing contact information to access Hush’s account, reset the account
      password, restore the administrative contact information and restore the correct DNS
      configuration. Correct name resolution was available to most customers within 16 hours,
      but some customers continued to experience access problems for the next 72 hours while



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      the incorrect configuration information was gradually purged from the global name
      service.
      The hijacking occurred during a period of days when Network Solutions, Inc., was
      contending with denial of service (DOS) attacks directed against its name servers.
      Whether the DOS attack was related to the domain hijacking and intended to lend
      credibility to the social engineering attack on Network Solutions’ support personnel is
      still under investigation. Network Solutions’ staff were aware of the name server
      problems and the timing of the events, whether coincidental or intentional, aided the
      hijacker in his social engineering effort.

      1.2.3 Analysis of the Incident
      Analysis of the Hushmail incident reveals that vulnerabilities with the registrar’s
      customer service security measures contributed to the success of the attack.

      1.2.3.1 Customer-service security measures
      In this incident, an attacker was able to socially engineer a 1st-tier customer support agent
      who was relatively new to the company to make a change to an administrative contact
      email account. The fraudster was extremely familiar with Network Solutions’ customer
      service procedures and terminology. The attack did expose a flaw in customer support
      procedures that facilitated the attack: the registrant contact change procedure did not
      require a supervisor or registrant confirmation, and access restrictions were not in place
      to prevent 1st-tier support personnel from effecting a change. Network Solutions has since
      revised its customer support procedures. The fraudster has tried repeatedly to hijack other
      domain names using the same tactic, to no avail. NSI continues to work closely with law
      enforcement to prosecute the fraudster.
      The administrative contact email account may also be used to perform a password reset
      on the domain registration account, which enhances its value to an attacker, and thus
      deserves additional consideration and stronger protection.

      1.2.3.2 Circumstances That Hampered Recovery Process
      The delay in resolving the Hush incident again highlighted some of the difficulties in
      dealing with an emergency that occurred over a weekend. Some Hushmail subscribers
      attempted to contact Hush’s customer support by email, however, the incident occurred
      outside customary support hours (Monday to Friday, 9AM to 5PM Pacific Time,
      excluding statutory holidays). In addition, support email from users experiencing the
      DNS issue would not have been delivered because the DNS configuration had been
      altered. This highlights issues registrants must consider when specifying transfer contact
      email addresses.

      1.2.4 Possible areas for improvement
      Customer-service security policies must address problems exposed by the Hushmail
      incident. Possible areas for improvement to reduce or eliminate future, similar incidents
      include:



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      1. A registrar should identify situations where customer support should obtain
         supervisor approval before it satisfies a request to change a registration record. For
         such situations, the registrar should identify customer escalation procedures to verify
         the change request is authentic and authorized.
      2. If a registrant’s contact email address is also used as the registrant’s user account, and
         the registrar offers user account self-administration (password reset or recovery), then
         registrars should consider stronger measures to safeguard these addresses against
         modification. For example, a registrar can
             a. Enforce a policy that requires a second form of authorization when a request
                is made to change a contact email address that can be used to perform a
                password reset.
             b. Keep a registrant’s contact email address private (e.g., not accessible via the
                Whois service to unauthorized parties) if it can be used to perform a password
                reset on registration accounts.
             c. Require registrants to create user account names (identities) that are distinct
                from any contact email addresses that will be recorded in the registrant’s
                Whois registration record (and thus have two distinct data object classes: user
                identity and authenticating email address).
             d. Notify more than one or all contacts (registrant, administrative, billing, and
                technical) when any registration information or the DNS configuration is
                modified for the domain name, and maintain an audit trail of contact requests
                and responses.
      3. Registrants should provide at least one 24 x 7 emergency contact number (especially
         in situations where 2(a) is implemented).
      4. Registrants should lock their domain names using the Registrar-Lock mechanism.
      5. Registrants, especially those who are in service businesses, should consider using a
         second email address on a different domain for emergency purposes. Registrants
         should consider obtaining this emergency address from a domain that is unlikely to be
         tampered with, e.g., a very secure and stable service provider.

      1.2.5 Sources
             Hushmail.com defaced by means of DNS redirection
             http://www.zone-h.org/en/news/read/id=4467/
             Hushmail hit by DNS Attack
             http://www.theregister.co.uk/2005/04/25/hushmail_dns_attack/
             Hushmail attacked by DNS hackers
             http://www.scmagazine.com/news/index.cfm?fuseaction=newsDetails&newsUID
             =86e229e0-2c39-44c2-8bbe-19ff34670953&newsType=New%20s
             Hushmail DNS Incident
             http://www.hushmail.com/login-news_dns



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             Mirror site of the defaced Hushmail home page
             http://www.zone-h.org/defacements/mirror/id=2309823/
             Hushmail DNS Attack Blamed on Network Solutions
             http://www.eweek.com/article2/0,1759,1791152,00.asp

      1.3 The HZ.com Incident
      HZ.com is a wireless information portal. Operating since mid-1997, it is one of the first
      portals of its kind. Visitors can access information services hosted from HZ.com from
      any email-capable portable device (Glenayre, RIM, or Motorola pagers, and email-
      capable cellular phones). Information hosted at HZ.com is accessed by approximately
      25,000 users.
      Founder Geoff Mulligan registered this two-letter domain name in 1996. On 15 February
      2005 during a casual Whois query, Mr. Mulligan discovered that the registration
      information for HZ.com had been modified without his knowledge or consent. The
      domain name had been transferred from his sponsoring registrar, AITdomains.com, to a
      reseller of Direct Information PVT, Limited, QNIC.com (PH Media Corporation). Mr.
      Mulligan’s contact information had been removed and replaced with contact addresses at
      xyberotica.com.
      Mr. Mulligan contacted AITdomains.com to notify them of the unauthorized transfer.
      AITdomains.com insisted that he provide proof that he was the rightful registrant. Mr.
      Mulligan submitted a copy of an earlier Whois registration record but AITdomains.com
      insisted he provide evidence that he was the name holder of record at the time of the
      transfer (according to their transaction records, 7 January 2005). Mr. Mulligan protested
      that the registrar’s own audit trail of the transfer should prove his ownership, to no avail.
      Whois records obtained from www.whois.sc confirm that Mr. Mulligan was the name
      holder on 31 December 2004 (see Appendix C).
      While pursuing the matter further, Mr. Mulligan was informed by both the gaining and
      losing registrars that they had received email correspondence from the administrative
      contact email address on record, authorizing the transfer request. In particular, the losing
      registrar, AITDomains.com, had on record an email purportedly sent from the registrant
      email address approving the Form of Authority (FOA) for the transfer. Mr. Mulligan did
      not send these email messages and investigated further. Mr. Mulligan analyzed his
      transaction and access logs and did not see any evidence that his mail servers had been
      compromised in order to send the FOA authorization. While no conclusive evidence has
      yet been gathered, the parties involved speculate that some mail server had been
      compromised, and the attacker had intercepted and spoofed email correspondence to
      hijack this and possibly 80 other domain names registered with xybererotica.com contact
      information. Since 80 or more domains had been transferred to the same suspected
      hijacker, it is likely that some intermediate mail server was compromised and used to
      send the transfer emails, or that spoofed emails were sent to the losing registrar directly
      rather than to individual mail servers at each registrant.
      Mr. Mulligan asked a colleague, Ram Mohan of Afilias Ltd. for assistance. Mr. Mohan
      contacted the CEO of Directi Information (DBA directi.com), the gaining registrar, who
      was receptive to Mr. Mulligan’s request to restore the domain. The history of HZ.com


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      name holders at www.whois.sc is reproduced in Appendix C of this report to demonstrate
      that there was indeed enough suspicious information in the registration to justify Direct
      Information’s decision to restore the name to Mr. Mulligan. These records also illustrate
      how valuable historical registration records are to parties investigating a name transfer
      dispute.
      The CEO authorized Directi.com to return the domain name. Directi staff had earlier
      asked that Mr. Mulligan obtain consent from AITdomains, but AITdomains was bound
      by policy not to release the domain to him because he was not the registrant on record.
      Ultimately, Directi.com returned HZ.com to AITdomains upon receiving sufficient
      notarized documents from Mr. Mulligan to satisfy its own proof of prior holder criteria.
      Directi also noticed a pattern of about 80 additional (presumably hijacked) domain names
      transferred to its sponsorship with the same registrant information (xybererotica). This
      evidence helped Directi make the decision to transfer the name back to Mr. Mulligan.

      1.3.1 The Impact on HZ.com
      While HZ.com experienced no intrusions nor service interruption during the time the
      domain was stolen, the rightful holder had lost control of his domain name and was
      essentially prevented from pursuing any business relationships (partnerships, growth and
      investment opportunities) in which the established identity of the service was considered
      a business asset.
      The rightful name holder was also uncertain whether he had lost an asset with
      considerable speculative value. Two letter domains in .com are highly valued, especially
      those which have a history of repeat visitor traffic and numerous referrer links. These
      metrics are valued by domain name speculators. In the case of HZ.com, the name is also
      valuable because it is a familiar technology acronym (HertZ, the measure of
      electromagnetic wave frequency in cycles per second, is commonly recognized as a
      measure of speed of CPUs) and thus carries considerable cachet and vanity value.

      1.3.2 Detection of and Recovery from the Incident
      The registrant detected the name hijacking through an impromptu (non-routine)
      examination of the Whois registration record. Recovery was hampered by several
      auditing-related issues:
         1. The audit records maintained by the losing registrar could not identify Geoff
            Mulligan, the legitimate registrant, as the name holder of record of HZ.com.
            Registrars are required to maintain full history of transactions, but it is possible
            that the correct registrant information was not collected in the first place. It is
            common for registrants to delegate the registration of a domain name to a third
            party (e.g., reseller or service provider), without ensuring that the registration
            includes the details of the registrant and is maintained over time.
         2. The standard Whois service and registration records available to registrants do not
            provide any history of name holders. Geoff Mulligan could prove he was the
            name holder of record at one time, but could not demonstrate he was the name
            holder on the day the transfer request was submitted.


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         3. Transfer requests were submitted using email addresses of authorized contacts. In
            this case, the gaining registrar relied on an electronic process to obtain
            authorization. The transfer policy accepts consent from an individual or entity that
            has an email address matching the Transfer Contact email address as sole and
            sufficient proof of identity.
         4. The name holder of record did not receive a pending transfer notification for the
            domain name from the losing registrar.
      This incident calls attention to a conundrum involving registrant information and the
      Whois service; specifically, what registration information should be publicly available
      via the Whois service (and hence available for misuse) and what should be kept private?
      It may be useful to investigate methods where (and impose best common practices on
      registrars so that) a registrant can provide public contact information for use by the
      Whois service and private contact information for use in registration and transfer
      correspondence.

      1.3.3 Analysis of the Incident
      In this incident, no changes had been made to the DNS configuration, and HZ.com’s
      services had not been affected. The theft could have gone undetected for considerably
      longer. It appears that the motive of this hijacking wasn’t to immediately disrupt the
      domain holder’s operation, but to acquire and resell a desirable two-letter domain name.
      The ultimate effect, however, would have led to grievous harm to the name holder.
      In this incident, AITdomains’ inability to present documentation associated with the
      transfer hampered restoration of the domain name to the rightful holder. Each registrar is
      responsible for keeping copies of documentation, including the FOA and the Transfer
      Contacts response because these may be required for filing and supporting a dispute
      under the dispute resolution policy.

      1.3.4 Possible areas for improvement
      Registrar auditing policies should address problems exposed by the HZ.com incident.
      Possible areas for improvement to reduce or eliminate future, similar incidents include:
         1. Registrars should make certain resellers maintain sufficient auditing information
            to provide a complete chronology of name holders. This information allows
            registrars to conduct the equivalent of a land title search on domain names and
            thus facilitate and possibly expedite dispute resolutions (Note that Registrar
            Accreditation Agreement §3.4, Retention of Registered Name Holder and
            Registration Data, requires that records of all transactions be kept, see
            http://www.icann.org/registrars/ra-agreement-17may01.htm).
         2. Registrars should augment registration records to include dates of acquisition and
            a history of name holders.
         3. Registrars should consider whether making pending transfer notifications to
            registrants mandatory by losing registrars will reduce hijacking incidents like this
            one, and improve the process so that it is not entirely dependent on email
            communication (see section 6) . In the HZ.com case, the Whois records used by


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             the gaining registrar to validate the transfer request would have proven useful in
             reaching a speedier resolution. Registrars should consider sending pending
             transfer notifications to an additional contact point from that used by the gaining
             registrar for authentication.

      1.3.5 Sources
      The information used to document the HZ.com attack was obtained from personal
      correspondence between Ram Mohan, Afilias Limited, a facilitating party; Geoff
      Mulligan, the registrant; various parties at the gaining and losing registrars (Directi and
      AITdomains, respectively); and the reseller (QNIC). The email threads contained
      sufficient forwarded items from the reseller and sponsoring/losing registrars to
      corroborate the incident as related here. Many of the exchanges contained personal
      comments. By request and to respect all the parties' expectations of privacy, we do not
      provide copies or sources here.




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      1.4 Other Noteworthy incidents
      The following table calls attention to some of the noteworthy domain hijackings. In the
      table, we identify the domain name, incident, nature of attack (exploit), and outcome.


              Domain Name                             Exploit                        Outcome
      Sex.com                          Fax fraud used to transfer          Domain recovered 7 years
                                       domain                              after transfer3
      ClubVibes.com                                                        Recovered4
      Commercials.com                  Note 1                              Recovered after attempts to
                                                                           resell
      iFly.com                         Note 1                              Resold (not recovered)
      Hackers.com                                                          Resold (not recovered).
                                                                           Registrant suffered loss of
                                                                           brand.
      Wifi.com                                                             Resold (not recovered)5.
                                                                           Registrant suffered loss of
                                                                           brand.
      Nike.com                         Spoofed email used to               Service interruption at
                                       transfer domain                     nike.com, denial of service
                                                                           to innocent 3rd party
                                                                           (FirstNet Online)
                                                                           (recovered)6
      Babayiz.biz                      Unauthorized party                  Under investigation –
                                       hacked into account and             registrar has insufficient
                                       blocked registrant from             (audit) information to help
                                       accessing it.                       registrant corroborate claim
                                                                           (see HZ.com)




      3
          See http://www.gigalaw.com/articles/2003-all/hollander-2003-02-all.html
      4
          From email correspondence with registrant
      5
          From email correspondence with registrant
      6
          See http://www.whoisfinder.com/news/200007/nike-hijacked-blames-nsi.html


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            Domain Name                            Exploit                           Outcome
      2e.com                           Note 1                              Registrant recovered name
                                                                           after filing a complaint with
                                                                           the WIPO Arbitration and
                                                                           Mediation Center following
                                                                           lengthy arbitration process.7
      Slsk.org                         SoulSeek lost domain to             Name not recovered.
                                       unknown party. Spyware              Rightful holder struggling to
                                       advocates lists claim new           restore brand after site was
                                       holder hosts trojan dialer          suspected of harboring
                                       program at this location.           spyware downloads8.
      Ebay.de                          Note 2                              Domain was restored to
                                                                           rightful holder in
                                                                           approximately 40 hours 9.
      Notes
      1) In these three incidents, the attack methodology was the same, and is best illustrated
         using a concrete example, commercials.com. In this instance, the attacker found a
         target domain he wanted to steal where the administrative contact’s email address was
         not assigned from the target domain. In this case, the administrative contact for
         commercials.com was rent@blinktv.net. The attacker monitored the registration
         status of blinktv.net. When blinktv.net expired, the attacker legally registered the
         domain name. The attacker had the registrar configure the DNS information for
         blinktv.net to point to his own servers, and all email messages addressed to “any
         user” @blinktv.net were delivered to his email address. The attacker requested a
         password reset from the registrar, which was delivered to the administrative contact
         email, now under control of the attacker. The attacker was able to access the
         registrant’s account and submit a Transfer of Registrar request to move
         commercials.com to a new registrar.
      2) A teenager claims to have visited several Web sites that described how to transfer a
         domain name and “on a lark”, attempted to transfer several sites including Google.de,
         Web.de, Amazon.de and eBay.de. Only the eBay.de transfer succeeded. An
         automated request went to Frankfurt Internet registry, DENIC eG, which sent an
         automated alert to Tucows, a Canadian firm responsible for the genuine eBay site. No
         reply was returned, and the domain name was transferred.



      7
          See http://arbiter.wipo.int/domains/decisions/html/2003/d2003-0184.html
      8
       See http://www.spywareinfo.com/newsletter/archives/1003/14.php#soulseek,
      http://www.spywareinfo.com/articles/p2p/
      9
       See http://www.internet-security.ca/internet-security-news-007/teenager-hijacks-ebay-domain.html,
      http://www.news24.com/News24/Technology/News/0,,2-13-1443_1583919,00.html


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      2 Risks and Threats Associated with Domain Hijacking
      Domain hijackings pose numerous and serious threats to registrants, registrars, resellers
      registries, and ultimately, the end user.
      To the registrant, a domain name serves simultaneously as its business location
      (presence) and the virtual world corollary to a business name. Whether legally accurate or
      not, registrants believe that “doing business online” establishes legal ownership of a
      domain name. From a hijacker’s perspective, it only matters that the registrant ascribes
      value to the domain name, often in excess of any amount recoverable through legal
      means. At the most modest level, this is similar to the “sentimental value” of inherited
      jewelry to a family member. The extreme opposite exists when consumers associate
      brand with a domain name. Many organizations are well-known by their domain name;
      e.g., Amazon Corporation is popularly known as amazon.com. Many organizations go to
      considerable effort to protect trademark infringement and brand tarnish by registering
      corporate identities in across all TLDs (e.g., Dupont Corporation, Microsoft Corporation,
      etc.)
      Because a domain name can be contextually overloaded they are valued by registrants.
      Once value is ascribed to a domain name, and irrespective of how it is measured or
      accepted in courts of law, domain names become targets for a range of exploits and
      criminal activities:
      Theft for resale – popular registered domains are valued for their “drawing power” by
      individuals and organizations other than registrants. A domain name that attracted tens of
      thousands of hits per day is extremely attractive for online marketing of a variety of
      products and services, from legitimate to sordid. Operating as sex.com made millions of
      dollars for both the original holder Gary Kremen and hijacker Stephen Cohen, and would
      do so for any party that successfully registered the name and operated a similar business.
      Several domains of perceived value – notably, iFly.com, hackers.com and WiFi.com –
      were hijacked, put up for sale, and resold before any action could be taken by the
      registrant.
      Theft for extortion – successful online concerns will pay to protect their brand. Owners
      of domains names will pay hijackers for the restoration of their registrant status. There is
      increasing evidence that both street and organized crime are involved in identity theft. If
      domain hijacking for extortion (or resale) becomes as lucrative a criminal activity as
      identity theft, fraudulent transfer requests will increase significantly.
      Tarnish of brand – domain names have been used by attackers to embarrass the
      registrant. The web defacement of hushmail.com and the panix.com incidents put the
      competencies of both service providers under public scrutiny.
      Fraud, Identity Theft, Monetary Theft – domain name hijackers can substitute their
      own authentication portals for those of a financial institution, corporate extranet or e-
      merchant web site and use these to collect user accounts and passwords. With stolen
      account information, hijackers can withdraw and transfer funds, steal identities, make
      online purchases.



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      Personal, Commercial and Political Espionage - By modifying a DNS configuration,
      an attacker can redirect email, IP telephony and instant messenger conversations for an
      entire domain so that these services pass through his own system. In passive monitoring
      man in the middle (MITM) attack scenarios, the attacker can “eavesdrop” to collect
      messages for offline analysis for an extended period of time without detection. In active
      intrusion MITM attack scenarios, the intruder can alter sender identification, impersonate
      senders, and alter messages and conversations.
      Business Interruption (Unauthorized Loss of Domain) – a registrant’s online presence
      is interrupted when domain names are hijacked and DNS configurations are changed. For
      e-merchants, the material impact can be measured in lost transactions per minute
      multiplied by average revenue per transaction. The losses accrued in hijacking incidents
      are similar to those that would accrue from a distributed denial of service attack (DDOS),
      or a fire or natural disaster at a brick-and-mortar shopping center. The impact to financial
      services and stock markets would be even more severe. Business interruption isn’t only a
      worry for Fortune 1000 companies. Small and medium businesses can ill afford to have
      online businesses interrupted as well.
      Collateral Damage – domain name hijacking involving service providers often has a
      domino effect. In the Nike incident, traffic was redirected from Nike’s web servers to a
      web hosting company, FirstNet Online. The web hosting company was unprepared to
      handle the volume of traffic typically processed by Nike’s server farm. FirstNet Online’s
      facilities were overwhelmed, and the impact to its customers’ web servers was the same
      as a denial of service attack. In the PANIX and Hushmail incidents, subscribers
      experienced partial or complete service interruptions.
      Loss through Litigation – following the Nike incident, FirstNet Online sued Nike for
      failing to secure its domain name, and attempted to hold Nike liable for unintended usage
      of its facilities. Irrespective of whether suits prove to have merit or are judged to be
      frivolous, legal actions prove costly and expose organizations to unsought and potentially
      damaging publicity.
      Loss of customer/confidence, customer attrition – this threat is a related outcome of
      any security incident where an organization’s competencies are called into question.
      Whether a financial institution is directly responsible for a theft of account information
      following a domain hijacking, or whether an ISP is directly responsible for service
      interruption is often moot or irrelevant. Only the fact that a registrant was associated with
      the incident matters. Customers lose confidence and take their business to a competitor.
      To the Registries, Registrars and Resellers, domain names are commodities they
      administer on behalf of registrants. To the extent the services of registries, registrars, and
      resellers are used by wrongdoers to carry out domain hijackings and related attacks, the
      goodwill and reputation of these entities can be damaged.
      Tarnish of brand – when domains are hijacked or contested, the credibility and possibly
      the character of losing and gaining registrars can be called into question. If a hijacking is
      demonstrated to have been the result of improper or erroneous actions performed by a
      registrar’s staff, the competency of the registrar may also be questioned.




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      Loss through litigation – an organization can suffer material damage from a domain
      name incident. If the damage can be directly attributed to a registrar’s failure to meet a
      contractual obligation, the organization can bring suit against a registrar.
      Loss of reseller business – if a reseller’s actions were to prove sufficiently egregious, a
      registrar could cease doing business through that reseller.
      Loss of accreditation and business operations – registries and registrars face
      compliance or legal action from ICANN if they violate their ICANN agreements, see
      (http://www.icann.org/correspondence/touton-letter-to-beckwith-03sep02.htm or
      http://www.icann.org/correspondence/twomey-to-lewis-03oct03.htm).
      Loss of customer confidence, customer attrition – this threat is often a related outcome
      of a domain hijacking where the registrar’s competencies or character are called into
      question.
      To the end user, a domain name is a location on the Internet that offers information,
      commerce, and other services. Hijacked domains pose potentially serious risks to users.
      They can be used to deny or hijack web, mail and other Internet services; host phishing,
      identity theft, and other scam sites; and disseminate false or politically volatile
      information.
      Many of these threats and consequences relate to contracts, associations, and
      relationships between name registration parties.
         •   ICANN has relationships with registries, governed by the ICANN-Registry
             Agreements (for example, http://www.icann.org/tlds/agreements/biz/registry-
             agmt-appf-11may01.htm), which includes the ability to operate a shared
             registration system and top level domain (TLD) name servers.
         •   ICANN has relationships with registrars, governed by the ICANN Registrar
             Accreditation Agreement (http://www.icann.org/registrars/agreements.html),
             which include the ability to insert and renew registration of second-level domains
             of the DNS in the registry.
         •   Registries have relationships with registrars, governed by Registry-Registrar
             agreements (http://www.icann.org/registrars/agreements.html). These agreements
             allow multiple registrars to provide Internet domain name registration services and
             operate SLD name servers within a top level domain.
         •   Registrants have relationships with registrars governed by registration
             agreements.
      Registries and registrars are bound by their agreements with ICANN and by consensus
      policies developed through ICANN’s Generic Names Supporting Organization (GNSO).
         •   Registrars have relationships with registrants, governed by a Registrar Authorization
             Agreement (also known as a Registrant or Registration Agreement). Under these
             relationships, a party (“the registrant”) applies for use of a domain name. These
             agreements may permit registrants to apply for use of a domain name on behalf of a
             third party for which the registrant acts as agent (e.g., a reseller or service
             provider).



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      ICANN has no agreements with resellers, service providers, and registrants. Registries
      have no agreements with registrants, resellers, or service providers. It is equally
      important to note that no formal requirements are imposed on registrars regarding the
      types of agreements they enter into with resellers and service providers.
      These relationships are illustrated in Figure 2-1:




                            Figure 2-1: Registration Contracting Parties




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      3 Vulnerabilities Observed from Domain Hijackings
      This section considers vulnerabilities in the current registrar processes that either resulted
      in, or present opportunities for, domain hijacking or security incidents involving domain
      names.

      3.1 Potential for Registrant Fraud
      Many domain hijackings are intentional acts involving fraud and impersonation of a
      domain name holder. A common attack methodology involves the substitution of a
      hijacker’s contact information for the administrative contact information in the Whois
      database of the losing registrar. The gaining registrar authenticates the request from the
      losing registrar’s Whois entry. Authentication succeeds and unless the registrant has
      locked the domain name or explicitly cancels the transfer, transfer authorization will
      succeed as well.
      Hijackers perpetrate registrant fraud using several methods:
         1. Impersonation using forged credentials. Hijackers use forged faxed requests or
            forged postal mail requests to modify registrant information. In certain cases,
            official company letterhead is stolen or copied, modified or duplicated to abet the
            fraud.
         2. Social engineering. A hijacker calls a registrar or reseller support staff, and
            convinces support personnel to alter the registrar database record. Several
            incidents suggest that hijackers may create diversionary attacks or exploit
            operational difficulties a registrar may experience to reduce the registrar’s
            resistance to social engineering attacks (e.g., the DOS against Network Solutions’
            DNS servers).
         3. Hijacking the authorized email address of an administrative contact.
            Hijackers employ several methods to fake or spoof email correspondence. In one
            form of attack, hijackers track administrative contact email addresses, and search
            for an administrative contact email address that is assigned from a soon-to-be
            expired domain. The hijacker registers the expired domain, and then modifies the
            DNS configuration so that he receives all email for the domain, including that of
            the administrative contact of the targeted domain name. The hijacker can now
            impersonate the administrative contact and request a password reset on the
            registrant’s account. The attacker intercepts the reset confirmation email, takes
            control of the registrant’s account, and authorizes a name transfer request.

             In a second form of attack, the would-be hijacker captures Internet traffic using
             LAN analysis tools and searches for email user accounts and passwords. Email
             protocols commonly use passwords for user authentication. When these protocols
             are transmitted over unencrypted links (the common practice today), user
             identities and passwords can be captured. Attackers compare captured account


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             information against Whois records to identify administrative contacts of
             exploitable domain names. Motivated and sophisticated attackers may also try to
             gain administrative control of email servers that are likely to relay email
             correspondence of domain names they want to hijack and search email messages
             stored on those servers for user accounts and passwords.
      It is important to note that hijackers scrutinize all observable registration processes and
      actively monitor public information via the Whois service in preparation for an attack.
      This surveillance is a practice common to many forms of Internet attacks. Through
      observation and monitoring, attackers hope to identify a vulnerability in the registration
      process or registrant behavior they can exploit.

      3.2 Vulnerable Aspects of Registrar Processes
      Incidents mentioned in this report and documented elsewhere call attention to exploitable
      aspects of procedures currently implemented by registrars and resellers. This list
      identifies procedures that may have contributed to one or more incidents, and the scope
      of any vulnerability identified here may be limited to one or a few resellers and
      registrants. The list is reported here to help identify areas in workflows across registries,
      registrars and resellers that might be modified to improve the security, stability and
      integrity of the registration process.
         1. A formal registrant authentication process is circumvented through social
            engineering.
         2. A forged document (e.g., a fax using the name holder’s company letterhead) is
            accepted physical proof of identity.
         3. Authentication credentials are disclosed to unauthorized 3rd parties by 1st-tier
            support staff, or reset in a manner that abets a hijacking, and no checks-and-
            balances safeguard against misuse of a 1st-tier support staff’s ability to access and
            modify registrant credentials
         4. Gaining registrars use one (and often only one) form of contact, an email to
            administrative contact, to transmit the standard Form of Authorization (FOA)
            used to notify registrant of a transfer-in request.
         5. Registrars fail to make the availability and purpose of domain locking
            mechanisms known to registrants.
         6. The default setting of domain locks is not uniform across registrars.
         7. A registrar or reseller fails to follow authorization processes according to the
            transfer policy.
         8. A registrar, reseller or registrant fails to maintain accurate registrant information.
         9. Registrars do not have mechanisms to handle urgent restoration of a domain
            name.
         10. Registrars do not have sufficient contact information to assist in handling an
             urgent restoration of a domain name.
         11. Registrars and resellers do not maintain a history of registration information.


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         12. Registrars do not publish best practices or set standards for auditing resellers.
         13. A losing registrar is not required to notify the registrant upon receiving a pending
             transfer notice from the registry.
         14. Registrars, registrants and resellers do not maintain alternate contact information
             (e.g., a contact email address for the registrant that is assigned from a domain
             other than the registrant’s domain) for urgent communications to safeguard
             against circumstances where email service might not be operational in emergency
             situations




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      4 Recovery Mechanisms
      This section considers the current domain name dispute resolution and recovery
      mechanisms, and examines how these mechanisms meet security and stability
      requirements for general business and contractual disputes over payment, legal disputes
      over ownership and use, and operational matters including an urgent recovery of a
      domain name.

      4.1 Dispute Resolution Policies
      The UDRP is available for cases of abusive registrations or cybersquatting, particularly
      with regard to trademarked names. A UDRP involves a cost of approximately USD
      $2,000, and takes at least two months to reach a decision.
      The Transfer Dispute Resolution Policy (TDRP) is available to registrars to address
      disputes involving a transfer that has occurred. A TDRP dispute can be brought to the
      registry for a decision or to a third-party dispute resolution service provider.
      Both dispute resolution policies are designed to provide an impartial assessment of the
      factual circumstances of a case in order to determine the appropriate outcome of a
      dispute. However, neither of these provides an immediate fix to cases of interrupted
      service or suspected hijacking.

      4.2 Incident Response: Urgent Restoration of a Domain
      Although registrars have worked together and agreed on a solution in several specific
      hijacking or fraud incidents, registrars may need a new communications channel and
      corresponding procedures to respond quickly to an operational loss of use of a domain
      name resulting from a transfer or DNS configuration error or hijacking. Possible elements
      of an urgent restoration of domain name registration information and DNS configuration
      include:
      An emergency action channel – to provide 24 x 7 access to registrar technical support
      staff who are authorized to assess the situation, establish the magnitude and immediacy of
      harm, and take measures to restore registration records and DNS configuration to what is
      often described as “the last working configuration”. An urgent restoration of a hijacked
      domain may require the coordinated efforts of geographically dispersed registrars,
      operating in different time zones. The emergency action channel requires a contact
      directory of parties who can be reached during non-business hours and weekends. It may
      be useful to make support staff contacts available online, so a third party is not required
      to maintain and distribute the contact details.
      A companion policy to the emergency action channel – to identify evaluation criteria a
      registrant must provide to obtain immediate intervention (e.g., circumstances and
      evidence). From these, registrars can define emergency UNDO procedures. This policy
      would complement the TDRP and must not undermine or conflict with policies defined
      therein. The circumstances which distinguish when an urgent recovery policy may be a
      more appropriate action than the TDRP include:



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         1. Immediacy of the harm to the registrant if the transfer is not reversed (e.g.,
            business interruption, security incidents).
         2. Magnitude of the harm, or the extent to which the incident threatens the security
            and stability of parties other than the registrant, including but not limited to users,
            business partners, customers, and subscribers of a registrant’s services.
         3. Escalating impact, or the extent to which a delay in reversing the transfer (and
            DNS configuration) would cause more serious and widespread incidents.
      The emergency action procedures should be tested to verify they are resilient to
      tampering and difficult to exploit. In particular, it should be difficult or impossible for an
      attacker to effect a hijack or interfere with a transfer under the guise of requesting urgent
      restoration of a domain.
      A public awareness campaign should be conducted to provide clear and unambiguous
      documentation that describes the policy and processes to registrars and registrants. This
      documentation should identify the criteria and the procedures registrants must follow to
      request intervention and immediate restoration.




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      5 Security Measures to Protect Domain Names
      All parties have business incentives to protect domain names from hijacking and theft.
      Here, we consider measures registrants, registrars, registries and ICANN might take to
      protect domain names and minimize hijacking incidents.

      5.1 Steps Registrants Can Take to Protect Domain Names
      A registrant can reduce the risk of losing a domain name by taking measures to protect
      his registration information and name holder status. The following measures are available
      to registrants today. Awareness campaigns will increase registrant understanding of these
      opportunities and services.
      To protect against unintended loss or hijacking of a domain name, a registrant should
      1) Keep domain name registration records accurate and current.
      2) Keep registrant account information (user identity, password, or other credentials)
         private, secure, and recoverable.
      3) Only grant registration account access and change control to parties in the registrant’s
         organization whose role(s) involve domain name administration.
      4) Choose a registrar with hours of operation that match the needs of the registrant.
      5) Keep current and accurate registrar business and emergency contact information.
      6) Be familiar with and incorporate urgent restoration of domain name and DNS
         configuration procedures as part of business continuity policy and planning.
      7) Investigate whether business interruption and losses related to a registration or DNS
         configuration incident are covered by insurance policies.
      8) Request that domain names be placed on Registrar-Lock.
      9) If a registrant’s sponsoring registrar uses EPP, the registrant should use a unique EPP
         authInfo code for each domain name registered.
      10) Request that the losing registrar contact the registrant when a transfer request is
          received using a contact point separate from that used by the gaining registrar.
      11) Routinely check the Whois service to check if a domain name is under Registrar-
          Lock. Note however that this information can be as much as 24 hours out-of-date,
          compared to the Registrar-Lock status in the registry.
      12) Routinely check domain name information to ensure that no unauthorized changes
          have been made to the contact information. This check can be automated using
          scripting tools and commercially available software. More frequent queries increase
          timeliness of detection and thus reduce the level of risk that a change will go
          unnoticed.
      13) Consult with the sponsoring registrar to establish appropriate (and possibly preferred)
          authentication processes for removing a transfer lock or changing a domain name
          configuration. (We note that such added safeguards may delay or increase the


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         difficulty of transferring names, but this is exactly the relationship some registrants
         may want with a registrar.)
      14) Choose a registrar who issues a transfer pending notification as its standard practice.
      Registrants seeking to further reduce risk should:
      15) Choose a registrar who will notify the registrant using contact methods in addition to
          (and in parallel with) standard email notices.
      16) Specify the contact methods that must be used (e.g., any or all contacts in the
          registration record, including, email, telephone, messaging and paging services, fax,
          etc.).
      Some of these services are likely to be offered by registrars as part of a basic service.
      Registrants that place a high value on their domain names may be willing to pay a
      premium for enhanced protection of registration and DNS configuration, including
      automated monitoring services.

      5.2 Steps Registrars Can Take to Protect Domain Names
      Registrars have an obligation and strong business incentives to reduce the risk of domain
      hijacking and loss due to mishandling of names and registration information.
      To protect against unintended loss or hijacking of a domain name, registrars should
      consider the following measures:
      1) Establish a more uniform implementation of EPP authInfo. Some registrars use a
         single EPP authInfo code for all domains held by the same registrant, and this is
         contrary to the transfer policy, which requires that Registrar-generated EPP authInfo
         codes be unique on a per-domain basis. Some registrars use the same EPP authInfo
         code for multiple (all) registrants, a practice which does not comply with the transfer
         policy and which effectively makes the EPP authInfo useless.

         Some registrars allow registrants to generate EPP authInfo codes for their domain
         names. The transfer policy does not impose any restrictions on EPP authInfo codes
         created by registrants, and by extension resellers and service providers acting as
         agents for registrants. While registrants and their agents are thus free to use the same
         EPP authInfo code for multiple domain names they hold, this practice exposes all
         names a registrant (or reseller) retains with that code whenever one is transferred. It
         may be appropriate or valuable to registrants to have the ability to create unique EPP
         authInfo values for each domain name registered.
      2) Establish a uniform default setting of domain locks across registrars. Many registrars
         already automatically lock domain names. Registrars must provide sufficiently direct
         means to unlock domain locks, so as to not unduly deny a legitimate transfer request
         from a verified domain name registrant.
      3) Investigate additional methods to improve accuracy of registrant records. This is
         admittedly a difficult task. Part of the solution lies in public awareness. ICANN’s
         Whois Data Reminder Policy (http://www.icann.org/registrars/wdrp.htm) requires



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         registrars to annually present registrants with a copy of their Whois data to allow
         registrants an opportunity to update the data. More frequent or alternate
         communications might assist registrants in keeping their information up to date.
      4) Collect emergency contact information from registrants, registrars, and resellers for
         parties who are suited to assist in responding to an urgent restoration of domain name
         incident. Define escalation processes (emergency procedures) that all parties agree
         can be instituted in events where emergency contacts are not available.
      5) Consider measures to improve authentication and authorization used in all registrar
         business processes, but especially in these sensitive change processes:
             i) change of delegation information,
             ii) change of contact details (credentials),
             iii) change of registrant (selling the name), and
             iv) change of registrar.
      6) Protect registrant information that can be used to facilitate fraud and impersonation,
         and theft of a domain name. As a default, treat any information that is used in
         registrant authentication processes as private. Consider treating this information with
         the same or similar measures to measures used to protect credit card or other financial
         information.
      7) Improve auditing of resellers’ compliance with record keeping requirements.
      8) Ensure that resellers understand record keeping requirements of registrars (and
         ICANN), and improve compliance with these requirements.
      9) Provide clear and readily accessible information to registrants regarding domain
         locking and domain name protection measures offered by registrars.

      5.3 Steps Registries Can Take to Protect Domain Names
      Registries, too, have an obligation and strong business incentives to reduce the risk of
      domain hijacking and loss due to mishandling of names and registration information.
      Actions registries may wish to investigate include the following:
      1. Implement EPP authInfo (where not already implemented).
      2. Work with registrars to establish a more secure implementation of EPP authInfo
         codes.
      3. Monitor use of EPP authInfo codes; in particular, employ mechanisms that can detect
         and flag repeated use of the same EPP authInfo value across multiple registrants.
      4. Work with registrars to define “best common practices” for auditing registration
         processing.
      5. Work with registrars to improve authentication and authorization requirements for
         transfers and changes to Second Level Domain (SLD) name servers within the TLD.




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      5.4 Steps Resellers Can Take to Protect Domain Names
      Although registrars are ultimately responsible for the actions of their resellers, registrars
      allow their resellers varying degrees of autonomy. In some cases a registrar’s
      responsibilities may be delegated completely to a reseller. Resellers, acting as agents of
      registrars, thus have an obligation to reduce the risk of domain hijacking and loss due to
      mishandling of names and registration information.
      To protect against unintended loss or hijacking of a domain name, resellers might
      consider the following measures:
      1) Review all relevant ICANN transfer policy documentation. Request training from
         registrars regarding important domain transfer policies. Registrars have an obligation
         to provide documentation and training for resellers, to ensure that resellers conform to
         ICANN policies for domain names. Resellers should make sure that registrars provide
         documentation and training so that they can implement them at their organizations.
      2) Establish a uniform default setting of domain locks. Many resellers already
         automatically lock domain names. Resellers must provide sufficiently direct means to
         unlock domain locks, so as to not unduly deny a legitimate transfer request from a
         verified domain name registrant.
      3) Investigate additional methods to improve accuracy of registrant records. The
         ICANN Whois Data Reminder Policy (http://www.icann.org/registrars/wdrp.htm)
         requires registrars to annually present registrants with a copy of their Whois data to
         allow registrants an opportunity to update the data. Resellers should ask to receive
         reports of failures or updates to this information from registrars for the registrants that
         they have signed up, so that registrant records information may be kept up to date.
      4) Acquire emergency contact information from registrants and registrars for parties
         who are suited to assist in responding to an urgent restoration of domain name
         incident. Define escalation processes (emergency procedures) that all parties agree
         can be instituted in events where emergency contacts are not available.
      5) Consider measures to improve authentication and authorization used in all reseller
         business processes, but especially in these sensitive change processes:
             i) change of delegation information,
             ii) change of contact details (credentials),
             iii) change of registrant (selling the name), and
             iv) change of registrar.
      6) Provide clear and readily accessible information to registrants regarding domain
         locking and domain name protection measures offered by resellers and registrars.

      5.5 Steps ICANN take to minimize the negative impacts of
          transfers on the registrant
      ICANN may need to consider developing (through its bottom-up, consensus-based policy
      development processes) a set of graduated penalties for registrars that fail to comply with


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      the transfer policy (e.g. penalty for first offence, penalty for second offence etc., or
      penalties that increase with the time taken to rectify a fault in the registrars business
      process).
      ICANN should publish additional consumer information that explains the domain
      transfers policy and processes, and identifies the areas of risk for a registrant. ICANN
      could provide a list of questions a registrant can ask a registrar to determine the level of
      authentication and protection mechanisms used to manage domain names. Another step
      ICANN can take is to make the SSAC report a part of the 6-month evaluation process of
      the transfer policy.




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      6 Findings and Recommendations
      The Committee offers these findings and recommendations in the spirit of open review,
      comment and evaluation, with the expectation that they will be considered carefully
      before they result in action. In particular, several recommendations, if accepted, will
      result in future work items for the Committee as well as various parties encouraged to
      take action.
      Overall, the Committee finds that name hijacking incidents are commonly the result of
      flaws in the processes implemented in support of the transfer policy, failure to comply
      with the transfer policy, and poor administration of domain names by registrars, resellers,
      and registrants.
      Finding (1) Failures by registrars and resellers to adhere to the transfer policy have
      contributed to hijacking incidents and thefts of domain names.
      Finding (2) Registrant identity verification used in a number of registrar business
      processes is not sufficient to detect and prevent fraud, misrepresentation, and
      impersonation of registrants.
      Finding (3) Consistent use of available mechanisms (Registrar-Lock, EPP authInfo, and
      notification of a pending transfer issued to a registrant by a losing registrar) can prevent
      some hijacking incidents.
      Finding (4) ICANN Policy on Transfer of Registrations between Registrars specifies that
      “consent from an individual or entity that has an email address matching the Transfer
      Contact email address” is an acceptable form of identity. Transfer Contact email
      addresses are often accessible via the Whois service and have been used to impersonate
      registrants.
      Finding (5) Publishing registrant email addresses and contact information contributes to
      domain name hijacking and registrant impersonation. Hijacking incidents described in
      this report illustrate how attackers target a domain by gathering contact information using
      Whois services and by registering expired domains used by administrative contacts.
      Finding (6) Accuracy of registration records and Whois information are critical to the
      transfer process. The ICANN Whois Data Reminder Policy requires that registrars
      annually request registrants to update Whois data, but registrars have no obligation to
      take any action except to notify registrants. Registrants who allow registration records to
      become stale appear to be more vulnerable to attacks.
      Finding (7) ICANN and registries have business relationships with registrars, but no
      relationship with resellers (service providers). Resellers, however, may operate with the
      equivalent of a registrar’s privileges when registering domain names. Recent hijacking
      incidents raise concerns with respect to resellers. The current situation suggests that
      resellers are effectively “invisible” to ICANN and registries and are not distinguishable
      from registrants. The responsibility of assuring that policies are enforced by resellers (and
      are held accountable if they are not) is entirely the burden of the registrar.




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      Finding (8) ICANN requires that registrars maintain records of domain name
      transactions. It does not appear that all registrars are working closely enough with their
      resellers to implement this requirement.
      Finding (9) The Inter-Registrar Transfer Policy incorporates formal dispute mechanisms.
      These were not designed to prevent incidents requiring immediate and coordinated
      technical assistance across registrars. Specifically, there are no provisions to resolve an
      urgent restoration of domain name registration information and DNS configuration.
      Finding (10) Changes to transfer processes introduced with the implementation of the
      ICANN Inter-Registrar Transfer Policy have not been the cause of any known attacks
      against domain names. There is no evidence to support reverting to the earlier policy.

      On the basis of these findings, the Committee makes the following recommendations:
      Recommendation (1): Registries should ensure that Registrar-Lock and EPP authInfo
      are implemented according to specification. In particular, registries should confirm that
      registrars comply with the transfer policy and do not use the same EPP authInfo code for
      all domains they register.
      Recommendation (2): Registries and registrars should provide resellers and registrants
      with Best Common Practices that describe appropriate use and assignment of EPP
      authInfo codes and risks of misuse when the uniqueness property of this domain name
      password is not preserved.
      Recommendation (3): Under the current transfer policy, a losing registrar notifies a
      registrant upon receiving a pending transfer notice from the registry at its option.
      Registrars should investigate whether making this notice a mandatory action would
      reduce hijacking incidences.
      Recommendation (4): Registrars should make contact information for emergency
      support staff available to other registrars, agents of registrars (resellers), and registry
      operators. Specifically, registrars should provide an emergency action channel. The
      purpose of this channel is to provide 24 x 7 access to registrar technical support staff that
      are authorized to assess an emergency situation, establish the magnitude and immediacy
      of harm, and take measures to restore registration records and DNS configuration in
      circumstances which merit such intervention.
      Recommendation (5): Registrars should identify evaluation criteria a registrant must
      provide to obtain immediate intervention and restoration of domain name registration
      information and DNS configuration. Registrars should define emergency procedures and
      policy based on these criteria. This policy would complement the Transfer Dispute
      Resolution Policy (TDRP) and must not undermine or conflict with those policies.
      Recommendation (6): ICANN, the registries, and the registrars should conduct a public
      awareness campaign to identify the criteria and the procedures registrants must follow to
      request intervention and obtain immediate restoration of a domain name and DNS
      configuration.
      Recommendation (7): Registrars should investigate additional methods to improve
      accuracy and integrity of registrant records. More frequent or alternate communications
      might assist registrants in keeping their information up to date. Registrars should also


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      acquire emergency contact information from registrants for technical staff who are
      authorized and able to assist in responding to an urgent restoration of domain name
      incident.
      Recommendation (8): Registrars should improve registrant awareness of the threats of
      domain name hijacking and registrant impersonation and fraud, and emphasize the need
      for registrants to keep registration information accurate. Registrars should also inform
      registrants of the availability and purpose of the Registrar-Lock, and encourage its use.
      Registrars should further inform registrants of the purpose of authorization mechanisms
      (EPP authInfo), and should develop recommended practices for registrants to protect their
      domains, including routine monitoring of domain name status, and timely and accurate
      maintenance of contact and authentication information.
      Recommendation (9): ICANN should investigate whether stronger and more publicly
      visible enforcement mechanisms are needed to deal with registrars that fail to comply
      with the transfer policy, and to hold registrars accountable for the actions of their
      resellers.
      Recommendation (10): ICANN should consider whether to strengthen the identity
      verification requirements in electronic correspondence to be commensurate with the
      verification used when the correspondence is by mail or in person.




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                                    Appendix A
                       The Four Rs: The Registry, Registrars,
                             Resellers and Registrants
      This section provides an overview of basic domain name management processes, and the
      roles played by the registry, registrars, resellers and registrant in each.

      Overview of the Registration Process
      A party wishing to register a domain name may do so by contacting a registrar.
      Companies operating through partnership or reseller agreements with a registrar
      (“resellers” and “service providers10”) also process domain name registrations. At the
      time of registration, the registrant provides the registrar with technical and contact
      information to be associated with the domain name, and enters into a registration
      Agreement with the registrar.
      The registrar then submits the technical and contact information associated with the
      domain name to the registry, which maintains the authoritative, master database of all
      domain names registered in a particular Top-Level Domain.

      Overview of the Registrar Transfer Process
      Registrants may choose to transfer their domain names from one registrar to another.
      Such transfers are conducted according to the Inter-Registrar Transfer Policy (see
      http://www.icann.org/transfers/), which has been in effect since November 2004. The
      policy applies to inter-registrar transfers in all unsponsored gTLDs (.biz, .com, .info,
      .name, .net, .org, .pro). This policy was developed to create clear guidelines for inter-
      registrar transfers, in response to an environment which generated frequent complaints
      from registrants: registrars were refusing to allow them to switch to another registrar or
      were imposing arbitrary conditions intended to prevent transfers out.
      To transfer a domain name from one registrar to another, a registrant makes a request to
      the gaining registrar. The gaining registrar must take two actions. First, the gaining
      registrar must obtain authorization for a transfer request by requiring that the registered
      name holder or registrant’s Administrative Contact as listed in the Whois complete a
      valid Standardized Form of Authorization (FOA). Second, the gaining registrar is
      required to verify the identity of the person submitting the Form. By transmitting a
      “Transfer” command, a registrar warrants that it has completed both of these steps.
      Upon receiving the registrant’s returned FOA, the gaining registrar sends a Transfer
      Request to the registry.
      If a domain name is locked, the transfer will fail automatically at the registry, and no
      further action by the losing registrar is required. A registrant who wishes to transfer must


      10
        The term service provider refers to an organization that offers domain name registration as one of several
      services to a customer, including but not limited to web hosting, email, data archival and Internet access.


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      explicitly request that the losing registrar remove the LOCK and then re-submit the
      transfer request to the gaining registrar.
      If a domain name is unlocked, the registry will notify the losing registrar of the transfer
      request, and the transfer will proceed unless the losing registrar rejects it within five (5)
      days. At its discretion and option, a losing registrar may contact the registrant with
      notice of a pending transfer-out, to confirm the registrant’s intent to transfer the domain
      name to the gaining registrar. The registrant has the opportunity to reject the transfer at
      this point. The losing registrar also has the authority to reject the transfer in certain
      specific circumstances, including evidence of fraud or the existence of a pending dispute
      over the name.
      Registry operators that use the EPP protocol (e.g., .org, .biz, .info, .name) are required to
      generate a unique domain name password (EPP authInfo code) for each domain name
      registered. In these registries, the EPP authInfo code is a required element in registrar
      transfers. The losing registrar must provide the EPP authInfo code to the registrant within
      five (5) days of the registrant’s request. The gaining registrar must then obtain this code
      from the registrant before a transfer-in can be initiated.
      This flow is depicted in figure A-1:




      Figure A-1: Transfer Process



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      Overview of the Registrant Transfer Process
      The process for transferring a domain name from one registrant to another is handled by
      the registrar. The process varies by registrar. There is no ICANN policy which lays out
      a process which must be used for registrant transfers; therefore, registrars have developed
      their own forms, identity validation procedures, and automated processes. Escrow
      devices are sometimes used in cases where a domain name is being sold.
      The new registrant will enter into a registration Agreement with the registrar that defines
      his/her rights and responsibilities with regard to the domain name. Once the change has
      been accepted by the registrar, the registrar will send updated Whois information for the
      domain name to the registry.
      Overview of the Whois Modification Process
      Periodically, contact details and name server information may need to be modified or
      updated by the registrant. Many registrars offer online account access, so that registrants
      can log in and make changes to their domain information directly. In other cases,
      registrants may provide updates to their registrar via the registrar’s support phone
      numbers or email addresses. Once these changes have been completed, the registrar will
      send the updated Whois information to the registry.
      It is worth observing that many processes are dependent on the accuracy of the
      registrant’s Whois information maintained by the registrar. If an unauthorized party
      succeeds in altering the registrant’s contact information in the Whois database, the
      authenticity of any subsequent transactions can be compromised. Additionally, if a
      registrant has failed to maintain accurate contact information, it will be even difficult to
      validate the identity of the registrant or notify the registrant of pending changes.




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                                   Appendix B
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      Brian Smith                          Hush Communications
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      Rodney Joffe                         UltraDNS
      Alison Mankin                        Shinkuro
      Mark Kosters                         VeriSign
      James Galvin                         ElistX
      Jonathan Nevett                      Network Solutions
      Dan Waldrun                          VeriSign
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      Dan Halloran                         ICANN
      Richard Lau                          Independent domain analyst and consultant




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                                 Appendix C
                   HZ.com Whois Records from WWW.Whois.sc
      C.1 The Whois record for HZ.com on 31 December 2004:
      Domain:
      hz.com
      Cache Date:
      2004-12-31
      Registrar:
      THE NAME IT CORPORATION DBA NAMESERVICES.NET11
      Domain Name:           hz.com
      Registrar: THE NAME IT CORPORATION DBA NAMESERVICES.NET
      Registrant Contact
      Name:                  Geoff     Mulligan
      Address:               3578 E Hartsel Drive #
                             Co Springs, CO 80920 US
      Email Address:          geoff@coslabs.com
      Phone Number:           7195932992
      Fax Number:
      Administrative Contact
      Name:                  Geoff     Mulligan
      Address:               3578 E Hartsel Drive #372
                             Co Springs, CO 80920 US
      Email Address:          geoff@coslabs.com
      Phone Number:           7195932992
      Fax Number:
      Technical Contact
      Name:                      Geoff     Mulligan
      Address:               3578 E Hartsel Drive #372
                             Co Springs, CO 80920 US
      Email Address:          geoff@coslabs.com
      Phone Number:           7195932992
      Fax Number:
      Record Created on........ 1995-06-15 00:00:00.000
      Record last updated on... 2002-06-21 14:10:38.000
      Expire on................ 2005-06-14 00:00:00.000
      Domain servers in listed order:
                        ns1.granitecanyon.com 205.166.226.38
                       ns2.granitecanyon.com 205.166.226.38
                       ns3.granitecanyon.com 65.102.83.43
                       ns.coslabs.com 199.233.92.34




      11
           AITdomains.com, a subsidiary of AIT, Inc., began operations in 1998 as N@meIT Corporation.


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      C.2 Altered Whois Record for HZ.com, 19 February 2005
      Domain:
      hz.com
      Cache Date:
      2005-02-19
      Registrar:
      DIRECT INFORMATION PVT. LTD., DBA DIRECTI.COM
      Registration Service Provided By: QNIC
      Contact: sales@qnic.com
      Website: www.qnic.com
      Abuse Desk Email Address: abuse@qnic.com
      Domain Name: HZ.COM
      Registrant:
          Xybererotica
          Xybererotica        (admin@xybererotica.com)
          Xybererotica
          Xybererotica
          null,12345
          AF
          Tel. +1.23456789
      Creation Date: 14-Jun-1995
      Expiration Date: 13-Jun-2006
      Domain servers in listed order:
          ns.coslabs.com
          ns1.granitecanyon.com
          ns2.granitecanyon.com
          ns3.granitecanyon.com
      Administrative Contact:
          Xybererotica
          Xybererotica        (admin@xybererotica.com)
          Xybererotica
          Xybererotica
          null,12345
          AF
          Tel. +1.23456789
      Technical Contact:
          Xybererotica
          Xybererotica        (admin@xybererotica.com)
          Xybererotica
          Xybererotica
          null,12345
          AF
          Tel. +1.23456789
      Billing Contact:
          Xybererotica
          Xybererotica        (admin@xybererotica.com)
          null,12345
          AF
          Tel. +1.23456789
      Status:LOCKED
        Note: This Domain Name is currently Locked. In this status the domain name can
      notbe transferred, hijacked, or modified. The Owner of this
      domain name can easily change this status from their control panel. Thisfeature
      is provided as a security measure against fraudulent domain namehijacking.




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                                        Appendix D
                                         Citations
      ICANN Inter-Registrar Transfer Policy
      http://www.icann.org/transfers
      ICANN Registrar Transfer Dispute Resolution Policy
      http://www.icann.org/transfers
      ICANN Registrar Accreditation Agreement
      http://www.icann.org/registrars/ra-agreement-17may01.htm
      ICANN-Registry Agreements
      http://www.icann.org/registries/agreements.htm
      ICANN Registry-Registrar Agreements
      http://www.icann.org/registrars/agreements.html
      Letter from Louis Touton to Bruce Beckwith Regarding Breach of VeriSign Registrar's
      Accreditation Agreement (Whois Data Accuracy) 3 September 2002
      http://www.icann.org/correspondence/touton-letter-to-beckwith-03sep02.htm
      Letter from Paul Twomey to Russell Lewis 3 October 2003
      http://www.icann.org/correspondence/twomey-to-lewis-03oct03.htm
      Standardized Form of Authorization, Domain Name Transfer:
      Initial Authorization for Registrar Transfer
      http://www.icann.org/transfers/foa-auth-12jul04.htm
      Standardized Form of Authorization, Domain Name Transfer:
      Confirmation of Registrar Transfer Request
      http://www.icann.org/transfers/foa-conf-12jul04.htm




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